             IN THE UNITED STATES COURT OF APPEALS
                     FOR THE FOURTH CIRCUIT


 AMERICAN FEDERATION OF STATE,
 COUNTY AND MUNICIPAL
 EMPLOYEES, AFL-CIO, et al.,

             Plaintiffs-Appellees,
                                                           No. 25-1411
                       v.

 SOCIAL SECURITY ADMINISTRATION,
 et al.,

             Defendants-Appellants.


  REPLY IN SUPPORT OF MOTION FOR STAY PENDING APPEAL
          AND IMMEDIATE ADMINISTRATIVE STAY

      On the basis of a legal theory shot through with jurisdictional and

merits defects, and after a panel of this Court stayed a materially identical

order in AFT v. Bessent, the district court entered a preliminary injunction

that continues to hobble the Social Security Administration’s exercise of its

lawful functions and implementation of the President’s DOGE Agenda.

      Identical circumstances demand identical results. Plaintiffs are

unable to explain why any superficial differences between AFT and this

case alter the motions panel’s reasoning regarding the government’s
likelihood of success. They do not. And the same equitable considerations

govern in both cases. Here as in AFT, then, the Court should stay the

preliminary injunction (including, as necessary, through an immediate

administrative stay).

      A.     The Government Is Likely to Succeed on the Merits.

      The district court’s grant of a preliminary injunction belied three

threshold obstacles to relief: plaintiffs lack standing, have not identified

final agency action, and are barred from APA relief by the Privacy Act’s

remedies. On the merits, too, plaintiffs’ claims fail: they have not

identified a Privacy Act violation—nor, by extension, were defendants’

routine activities arbitrary and capricious. Defendants have thus met and

surpassed their “need [to] prevail on one” of these issues. Order 8-9, AFT

v. Bessent, No. 25-1282 (4th Cir. Apr. 7, 2025) (Richardson, J., concurring)

(AFT Order); id. at 12 (noting that the complexity and number of the issues

weighs against the plaintiffs). Plaintiffs’ response fails to establish

otherwise.

             1.   Plaintiffs lack standing

      A “legally and judicially cognizable” injury in fact, Raines v. Byrd, 521

U.S. 811, 819 (1997)—is an indispensable element of any federal suit, let

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alone one seeking the “extraordinary” relief of a preliminary injunction,

Starbucks Corp. v. McKinney, 602 U.S. 339, 345-46 (2024). As they must in

light of the Court’s recent order, AFT Order 3 (Agee, J., concurring),

plaintiffs agree that they are bound first to establish a “close relationship”

between the harm they claim and a “harm traditionally recognized as

providing a basis for a lawsuit in American courts.” Mot. 8 (quoting

TransUnion LLC v. Ramirez, 594 U.S. 413, 417 (2021)); Resp. 5 (similar). And

crucially, all agree that “plaintiffs cannot establish a cognizable injury in

fact merely by pleading a statutory violation.” Resp. 10; accord TransUnion,

594 U.S. at 425-26.

      Plaintiffs nonetheless try to skirt these fundamental principles in

their leading responsive argument, insisting that their claimed harm is

sufficiently akin to the tort of intrusion upon seclusion because “the

Privacy Act, applicable federal regulations, and SSA’s own practices and

public statements” protect the data at issue here. Resp. 6-7. But a historical

comparator is what matters, not alleged statutory or policy violations.

TransUnion, 594 U.S. at 425-26.

      As defendants explained in their motion, the required historical

analogue is absent here (even if non-physical intrusions may be
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cognizable—and defendants have not argued otherwise, see Mot. 9; but see

Resp. 8). Government employees’ access to vast datasets, which may or

may not lead them to view personal information of plaintiffs’ individual

members, is nothing like the “intentiona[l] intru[sion] . . . upon the solitude

or seclusion of another or his private affairs or concerns” that the common

law protects. Mot. 9 (quoting Restatement (Second) of Torts § 652B (Am.

Law Inst. 1977)); see also id. 9-10 (citing examples). That is true even if

“SSA’s records contain the same information traditionally found in a

home,” Resp. 5—at bottom, a government employee having job-required

access to data about an individual, which the individual voluntarily

provided to the government, bears no resemblance whatsoever to that

same employee physically intruding into the individual’s home or an

unauthorized third party rifling through the individual’s medical records.

      Nor is it conceivably “highly offensive to a reasonable person” for

such access to be provided to a small group of government employees,

Mot. 9, especially because plaintiffs’ members provided their data to SSA

with the understanding that government employees would have access to

it, see id. 10-11. Contra plaintiffs, Resp. 7, the district court did not find

otherwise; it merely noted at a high level of generality that “[m]embers of
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the plaintiff organizations have expressed their belief of an expectation of

privacy as to their” personal information. ADD88.1 To the extent plaintiffs

aver that their members expected to be able to micromanage subsequent,

legitimate uses of their data, that contention is unsupported by the district

court’s decision and is unreasonable in any event.

      In response, plaintiffs rely on Garey v. James S. Farrin, P.C., 35 F.4th

917 (4th Cir. 2022). Resp. 10. But this Court has already rejected precisely

the same reading they advance here. AFT Order 4-6 (Agee, J., concurring).

Then, without citation, plaintiffs argue that it “should be self-evident” that

intragovernmental data access is similarly offensive to rifling through a

neighbor’s mail. Resp. 9. This Court did not think so. AFT Order 6 (Agee,

J., concurring), 11-12 (Richardson, J., concurring). Attempting to

distinguish AFT, plaintiffs cite one statement explaining that SSA

personnel may be required to contact individuals whose information is

held by the agency. Resp. 9-10. It is not apparent, nor do plaintiffs explain,

why that matters. And in any event, plaintiffs do not allege that SSA has




      1 On April 24, the district court amended its opinion to correct minor,

cosmetic issues. Dkt. 156 & 157. For simplicity, defendants continue to
refer to the original opinion, included in the addendum to their motion.
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contacted them or otherwise used their information in a manner that

intrudes on their seclusion.

      Without a suitable direct comparison, plaintiffs resort to high levels

of abstraction. They first invoke an individual’s right to “control” his or

her personal information. Resp. 8-9 (quotation omitted). But the very same

case plaintiffs cite observes that “the extent of the protection accorded a

privacy right at common law rested in part on the degree of dissemination

of the allegedly private fact.” DOJ v. Reporters Comm. for Freedom of the

Press, 489 U.S. 749, 763 (1989). Here, plaintiffs have alleged at most

intragovernmental dissemination, which is not akin to unauthorized

intrusions into the private spheres of others. Furthermore, plaintiffs

relinquished “control” of their information in relevant respects when they

voluntarily provided it to the government on the understanding that it

would be routinely accessed by agency employees. See supra.

      Plaintiffs also point to Judge Richardson’s characterization of

intrusion upon seclusion as guarding against a “feeling of unease.” Resp. 9

(quoting AFT Order 10). But Judge Richardson’s analysis does not help

plaintiffs, as he concluded in materially identical circumstances that the

required “sort of harm [was] not present” in AFT. AFT Order 11. In other
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words, intragovernmental disclosure of private information cannot give

rise to actionable feelings, however genuine, of unease. See Resp. 9 (citing

record evidence).

            2.      Plaintiffs have not identified final agency action

      Defendants have explained why review of day-to-day agency

management (like granting new employees access to necessary systems) is

impermissible “general judicial review” of something other than “agency

action,” which is forbidden by the APA. Mot. 16 (quoting Lujan v. National

Wildlife Fed’n, 497 U.S. 871, 899 (1990)). That is true whether or not an

agency’s managerial decisions represent a “sea change” from past practice.

Resp. 11 (quoting ADD111); see also Lujan, 497 U.S. at 890 (describing

unreviewable activity as “constantly changing”).

      Because the activity plaintiffs challenge is not “agency action,” it

cannot be “final” agency action (even if it involves the Acting

Commissioner, Resp. 11), as the APA requires. Most centrally, the agency’s

onboarding of new personnel and its decision to grant those new

employees access to data systems does not alter plaintiffs’ members’ rights

or obligations, nor carry legal consequences for those members,

distinguishing this case from Venetian Casino Resort, LLC v. EEOC, 530 F.3d
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925 (D.C. Cir. 2008). See Resp. 12. There, the court recognized that

unauthorized third-party disclosures can have direct, immediate

consequences for plaintiffs. See 530 F.3d at 931. By contrast, review of data

contained in internal agency systems by agency employees does not

threaten the same immediate harms. Cf. Hunstein v. Preferred Collection &

Mgmt. Servs., Inc., 48 F.4th 1236, 1240, 1245-50 (11th Cir. 2022) (en banc)

(explaining that without third-party disclosure, claims founded on internal

disclosure of data do not state a cognizable injury for standing purposes).

            3.    Plaintiffs’ claims are meritless

      Apart from standing and APA reviewability, defendants are likely to

succeed for three additional reasons: plaintiffs cannot raise an alleged

Privacy Act violation under the APA, they have not made out such a

violation anyway, and their claim of arbitrary-and-capricious action cannot

piggyback on their flawed Privacy Act theory.

                  a.    The Privacy Act’s remedies foreclose relief

      The Privacy Act provides a “comprehensive remedial scheme” for

violations thereof, see Wilson v. Libby, 535 F.3d 697, 703 (D.C. Cir. 2008),

making APA review unavailable, 5 U.S.C. § 704. Mot. 19-21. This Court

has already explained why Doe v. Chao, 435 F.3d 492, 505 n.17 (4th Cir.

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2006), does not compel a contrary conclusion: because the relevant

discussion appears in dicta. AFT Order 13-14; but see Resp. 12-13. And the

reasoning of a district court outside this Circuit that concluded otherwise

is, respectfully, unpersuasive. See Resp. 12-13 (citing Alliance for Retired

Ams. v. Bessent, No. 25-0313, 2025 WL 740401 (D.D.C. Mar. 7, 2025)).

Rather, as described in the motion, Congress’s decision to provide narrow,

targeted causes of action for damages or particular kinds of injunctive relief

under the Privacy Act strongly suggests that it did not intend to allow

plaintiffs to end-run that carefully constructed scheme via APA claims.

Mot. 19-21.

                  b.    Plaintiffs’ Privacy Act claim fails on the merits

      The Privacy Act permits disclosure of a record (“any item, collection,

or grouping of information about an individual,” 5 U.S.C. § 552a(a)(4)) to

any officer or employee of an agency who has a need for the record in the

performance of his duties. Id. § 552a(b)(1). The district court assumed that

the SSA DOGE team consisted of SSA employees. ADD124. That

assumption was well founded, taking into account “all the circumstances,”

Resp. 16 (quotation omitted). See Dkt. 36-2.



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      Plaintiffs attack the relevant employees’ “need” for the records access

they have by arguing that the need defendants have identified is

insufficiently specific. Resp. 14-15. But there is no statutory requirement of

specificity that renders the defendants’ priorities—a technology

modernization project, and the prevention of fraud—insufficient to justify

systems access to effectuate them. Indeed, the “need” is obvious. AFT

Order 14 (Richardson, J., concurring). Similarly, the Privacy Act does not

distinguish between anonymized data and non-anonymized data. See 5

U.S.C. § 552a(a)(4), (b)(1) (referring only to disclosure of “records”). So it

does not matter if SSA could do some of its work with anonymized data.

Resp. 15. The Privacy Act is not a vehicle for private parties to impose their

vision of data minimization best practices on federal agencies and for

courts to micromanage those practices.

                  c.    Defendants did not act arbitrarily or capriciously

      In the span of less than two pages (of 145), the district court found

SSA’s provision of systems access to certain employees to be arbitrary and

capricious. ADD143-44. To start, the district court could only reach this

conclusion because it improperly considered SSA to have taken final

agency action. Viewed in its proper light, as defendants have explained,
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the provision of access here was unreviewable, routine, internal

administration. See supra. Defendants were thus not required to “disclose[

or] acknowledge[] a change in position,” “explain[] their choice” of policy,

or “consider[]” reliance interests, Resp. 16-17, all doctrines that presuppose

reviewable action.

      Even if final agency action were present, the district court’s finding of

arbitrary-and-capricious action rested on little more than a repackaging of

its conclusion that plaintiffs were likely to succeed on the merits of their

Privacy Act claim (as the brevity of its analysis confirms). ADD143 (“As

discussed, defendants have not provided the Court with a reasonable

explanation for why the entire DOGE Team needs full access . . .”). For the

same reasons plaintiffs have not made out a Privacy Act violation, then, see

supra, plaintiffs’ arbitrary-and-capricious challenge is without merit.

      B.    The Remaining Factors Favor a Stay.

      The remaining factors—irreparable harm, the balance of harms, and

the public interest—likewise favor the requested stay. Since it was entered,

the district court’s preliminary injunction has continued to inflict

considerable, irreparable harm (not analogous to losses of “money, time

and energy” in suits between private parties, Resp. 19) on the interests of
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the Executive Branch. Beyond the indignity of an unjustified judicial

intrusion into the operations of a coequal branch, the injunction hinders the

progress of important reform efforts. The fact that the agency has not

previously undertaken these efforts, Resp. 18-19, underscores (not

weakens) defendants’ need to move expeditiously. And it is no answer to

say that the district court’s order permits defendants to use anonymized

data or to follow cumbersome, unworkable processes to use non-

anonymized data, Resp. 18—for one thing, this distinction is without a

basis in law, see supra, and for another, the impingement on effective

functioning of government will remain. See Dkt. 62-1, 74-1 (detailing these

harms).

      By contrast, plaintiffs cannot show any harm at all (much less

irreparable harm) from SSA’s intra-agency disclosure of information,

where employees who view that information are subject to the same

confidentiality obligations that apply to other similarly situated agency

employees, as other courts addressing similar claims have held. See Mot.

25-26 (citing cases). Plaintiffs maintain that the AFT Order does not

control, but say little more than that the record here is “different.” Resp.

19-20. Whatever differences exist are immaterial: the reality is that in both
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cases, the plaintiffs claimed irreparable injury analogous to privacy torts

from intra-agency disclosures of their information. That theory was

insufficient in AFT, and it is insufficient here.

      Considerations of injury to the government and the public interest

“merge” under the present circumstances. Nken v. Holder, 556 U.S. 418, 435

(2009). Even if considered independently, however, the public interest

favors defendants, because the preliminary injunction unduly impinges on

the Executive Branch’s ability to effectuate promised policy. Plaintiffs’

attempted rebuttal (at 20-21) merely collapses their mistaken view of the

merits with the public interest. Even if that simplification of the test for

equitable relief were legally sound, but see Winter v. Natural Res. Def.

Council, 555 U.S. 7, 21-22 (2008), the infirmities in plaintiffs’ claims

correspondingly weaken their invocation of the public interest. See supra.

      Finally, plaintiffs do not seriously contest that, if the government is

likely to succeed on the merits of its appeal for any reason, the remaining

stay factors are also met. While this Court’s review of the district court’s

discretion in balancing of the harms is deferential, a district court

necessarily “abuses its discretion when it . . . commits an error of law.”

United States v. Dillard, 891 F.3d 151, 158 (4th Cir. 2018). As explained
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above, the district court committed several such errors of law here: on

standing, irreparable harm, and in subjecting the agency activity at issue

here to APA review at all, let alone finding a violation of the law that

would warrant enjoining important agency actions taken in furtherance of

a Presidential policy directive.

                               CONCLUSION

      For these reasons and those explained in the government’s motion,

this Court should stay the district court’s preliminary injunction pending

appeal, and should grant an immediate administrative stay pending

consideration of the stay pending appeal.




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             Respectfully submitted,

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     I hereby certify that this motion satisfies the type-volume

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                                           s/ Simon G. Jerome
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                       CERTIFICATE OF SERVICE

     I hereby certify that on April 24, 2025, I electronically filed the

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                                             s/ Simon G. Jerome
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